 [NOT FOR PUBLICATION--NOT TO BE CITED AS PRECEDENT]
            United States Court of Appeals
                For the First Circuit

No. 98-1333

                   RONALD L'HEUREUX,

                      Petitioner,

                           v.

           JEFFREY J. PINE, ATTORNEY GENERAL,

                      Respondent.

      APPEAL FROM THE UNITED STATES DISTRICT COURT

            FOR THE DISTRICT OF RHODE ISLAND

      [Hon. Ernest C. Torres, U.S. District Judge]

                         Before

                Selya, Stahl and Lynch,
                   Circuit Judges.

Ronald L'Heureux on brief pro se.
Aaron L. Weisman on brief for respondent.

November 10, 1998

Per Curiam.  After careful review of the briefs and record,
and in light of the pending state court proceedings, we cannot say
that the district court abused its discretion in dismissing the
petition for lack of exhaustion.  28 U.S.C.  2254(b)(1); seeJohnson v. Moran, 812 F.2d 23, 23 (1st Cir. 1987); Layne v. Gunter,
559 F.2d 850, 851-52 (1st Cir. 1977).
Petitioner's remaining arguments and requests are not properly
before this court.
Affirmed.  See 1st Cir. Loc. R. 27.1.

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